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                      UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                              WACO DIVISION
                                     §
FACTOR 2 MULTIMEDIA SYSTEMS, LLC, §
                                     §     Civil Action No. 6:24-cv-00362-XR
                Plaintiff,           §
    v.                               §        JURY TRIAL DEMANDED
                                     §
EARLY WARNING SERVICES, LLC; BANK §
OF AMERICA CORPORATION; TRUIST       §
FINANCIAL CORPORATION; CAPITAL       §
ONE FINANCIAL CORPORATION;           §
JPMORGAN CHASE & CO.; THE PNC        §
FINANCIAL SERVICES GROUP INC.; U.S.
BANCORP; AND WELLS FARGO &
COMPANY,

                      Defendants.


                        NOTICE OF APPEARANCE OF COUNSEL

       The undersigned attorney, Vincent J. Galluzzo, hereby enters an Appearance as counsel of

record on behalf of Defendant Wells Fargo & Company in this case and is authorized to receive

service of all pleadings, notices, orders, and other papers in the above-captioned matter on behalf

of Defendant.


Dated: September 20, 2024                                   Respectfully submitted,

                                                            /s/ Vincent J. Galluzzo
                                                            Vincent J. Galluzzo
                                                            NC Bar No. 60098
                                                            K&L Gates LLP
                                                            300 South Tryon Street
                                                            Suite 1000
                                                            Charlotte, NC 28202
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                                                            Attorney for Defendant
                                                            Wells Fargo & Company


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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on September 20, 2024, all counsel of record who

have consented to electronic service have been served with a copy of the foregoing via the Court’s

CM/ECF system.


                                                            /s/ Vincent J. Galluzzo
                                                            Vincent J. Galluzzo




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